
In re Isadore, Robert;—Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Acadia, 15th Judicial District Court Div. F, No. 32,696; to the Court of Appeal, Third Circuit, No. KH04-92.
Denied. Untimely, not cognizable, and repetitive. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; cf. La.C.Cr.P. art. 930.4(D).
